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Stevens & Lee

669 River Drive, Suite 201
Elmwood Park, NJ 07407
(201) 857-6760 Fax (201) 857-6761
www.stevenslee.com
Direct Dial: (201) 857-6778
Email: robert.donovan@stevenslee.com
Direct Fax: (610) 371-7938

December 10, 2021

VIA E-FILING

Honorable Ona T. Wang, U.S.M.J.
United States District Court
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Courtroom 20D
New York, New York 10007

Re: Ahmed Ashour et al. v. Arizona Beverages USA LLC, et al.
Index No. 19-ev-07081 (AT)(OTW) — Joint Status Report and Agenda Items

Dear Judge Wang:

Pursuant to the Court’s order (ECF 169), kindly accept this joint status letter and a

statement of agenda items in advance of the upcoming in person status conference scheduled for
December 15, 2021 at 3:00 p.m.

Since the parties last appeared before the Court on November 3, 2021, Defendants
produced emails and attachments thereto, stored electronically, based on agreed upon search terms.
The documents produced included information regarding costs associated with making and
producing Defendants’ products.

The parties have been discussing dates to conduct plaintiff Crystal Townes’ deposition.
The parties had agreed to conduct the deposition on December 22, 2021, subject to confirming the
location in New York, but Defendants have since informed Plaintiffs that this date no longer works
due to scheduling conflicts encountered by Defendants. It no longer appears likely that the
deposition will take place before the end of the year. Discovery has been extended through
December 31, 2021 but the parties agree that further time to complete discovery is necessary.

Defendants’ Agenda Items:

Plaintiffs Townes and Brown are to produce records of purchases responsive to document
requests. Plaintiff Ashour is to furnish information concerning the identity of his former employer.

The parties have a number of unresolved disputes concerning the production of documents
requested by Defendants. The details of these requests and the basis for requiring production are
set forth in Defendants’ letter seeking a pre-motion conference (ECF 170) and a separate motion

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A PA Professional Corporation, Salvatore A. Giampiccolo, NJ Managing Attorney

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to seal. (ECF 172). The Court denied the request for a conference as moot and the parties were
directed to the previous order scheduling the upcoming conference. (ECF 171). Defendants will
address the substance of the discovery dispute (ECF 170) at the conference. Defendants’ letter
motion (without accompanying exhibits) is hereby re-submitted and attached as Exhibit “A” as
part of the within agenda submission.

Plaintiffs’ Agenda Items:

Defendants’ ESI Production: Plaintiffs have completed their initial review of Defendants’
ESI production from November 19, 2021. That production appears to be remarkably deficient, as
the lion’s share of the production can be characterized as non-responsive and/or wholly irrelevant
to any of the parties’ claims or defenses.” Plaintiffs have requested a meet and confer with
Defendants about this on December 13 or 14.

Schedule for the Remainder of the Case: Given that Plaintiffs just received an initial ESI
production and thus have not been able to commence depositions, Plaintiffs need additional time
to complete discovery. Plaintiffs continue to believe that the sequencing of events set forth in their
previously-proposed schedule (see ECF No. 159 at 7-8) makes the most sense for the remainder
of this case. The timing of the schedule will depend upon when Defendants can complete their
document production (including ESI). Plaintiffs believe they need three months to complete
discovery once Defendants have substantially completed their document production. So, for
example, if Defendants can substantially complete their document production by April 1, 2022,
Plaintiffs believe that fact discovery can close on July 1, 2022 and the rest of the previously-
proposed schedule can flow from there.

Thank you for Your Honor’s attention to this matter.

Respectfully submitted,

PEARSON, SIMON & WARSHAW, LLP STEVENS & LEE

/s/ Benjamin E. Shiftan /s/ Robert P. Donovan
BENJAMIN E. SHIFTAN ROBERT P. DONOVAN
Attorneys for Plaintiffs Attorneys for Defendants

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REESE LLP

/s/ Carlos F. Ramirez
CARLOS F. RAMIREZ
Attorneys for Plaintiffs

CC (All Counsel of Record Via ECF)

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EXHIBIT A

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669 River Drive, Suite 201
Elmwood Park, NJ 07407

(201) 857-6760
Direct Dial: (201) 857-6778
Email: robert.donovan@stevenslee.com
Direct Fax: (610) 371-7938
December 8, 2021

VIA E-FILING
Honorable Ona T. Wang, U.S.M.J.
United States District Court
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Courtroom 20D
New York, New York 10007

Re: Ahmed Ashour, et al. v. Arizona Beverages USA LLC, et al.
Index No, 1:19-cy-07081 (AT)(OTW) - Defendants’ Request for
a Pre-Motion Discovery Conference

Dear Judge Wang:

This firm represents defendants (“Defendants”). Kindly accept Defendants’ motion for a
discovery conference pursuant to Your Honor’s Individual Practices, Section JI.b. The parties

have met and conferred on multiple occasions without success. The issues in dispute are as
follows:

A. Plaintiffs Townes and Brown - In document requests served on plaintiff, Crystal
Townes (“Plaintiff Townes”), at Nos. 18, 22, 37 and 38 (Ex. A), Defendants seek: (1) agreements
and related documents concerning the sharing of attorneys’ fees or other damages recovered in
this action (No. 18); (2) Plaintiffs’ agreements with any other plaintiff, attorney or professionals
regarding the prosecution of this lawsuit or the disposition of proceeds therefrom (No. 22); (3) all
joint prosecution agreements by and between the Reese firm and the Pearson firm concerning the
instant action (No. 37); and (4) documents relating to any fee sharing obligation that the Reese
firm and/or Pearson firm has with any attorneys concerning the fees sought in the instant action
(No. 38). These same requests were propounded upon plaintiff, Joy Brown (“Plaintiff Brown”).
(Ex. B). Plaintiffs object to producing responsive documents primarily on relevance and privilege
grounds. (See Exs. A and B). As to request No. 18, Plaintiff Brown also stated that non-privileged

responsive documents would likely be produced in connection with the class certification motion.
(Ex. B).

The documents sought are relevant because obligations by and among proposed class
counsel, or with others, in prosecuting the suit and/or sharing fees, bear upon whether any conflicts
exist between putative class counsel and the proposed class sought to be represented. See Jn re
Agent Orange Prod. Liab. Litig., 818 F.2d 216, 224-226 (2d Cir. 1987) (where Second Circuit

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observed that provisions in fee sharing agreement providing for direct cost profits created conflicts
between class counsel and the class and, further stated, that it agreed “with the district court’s
ruling that in all future class actions counsel must inform the court of the existence of a fee sharing
agreement at the time it is formulated.”’). The adequacy of representation requirement is concerned
with the “competency and conflicts of class counsel.” See Amchem Prods., Inc. v. Windsor, 521
U.S. 591, 626 n. 20 (1997) (emphasis added).

Here, Plaintiffs Townes’ and Brown’s retainer agreements refer to

= (See Exhibits 1 and 2 attached to the Declaration of Robert P.
Donovan, filed under seal.) The agreement with Plaintiff Townes provides further that [I

Ne (Sce Ex. |, filed under

seal.) Plaintiff Brown’s agreement does not refer to EE but contains similar
allocation provisions. (See Ex. 2 filed under seal.)

The documents sought bear upon fee sharing rights and obligations among counsel and do
not seek privileged communications with clients. As observed in Laforest v. Honeywell Int'l Inc.,
No. 03-CV-6248T, 2004 WL 1498916 (W.D.N.Y. July 1, 2004), the attorney-client privilege does
not apply to all communications involving an attorney, but rather, it attaches:

(1) where legal advice of any kind is sought (2) from a professional legal advisor
in his capacity as such, (3) the communications relating to that purpose, (4) made
in confidence (5) by the client, (6) are at his instance permanently protected (7)

from disclosure by himself or by the legal advisor, (8) except the protection be
waived.

Similarly, under Ninth Circuit law, communications between attorney and client that
concern “the identity of the client, the amount of the fee, the identification of payment by case file
name, and the general purpose of the work performed are usually not protected from disclosure by

the attorney-client privilege.” See Clarke v. Am. Commerce Nat'l Bank, 974 F.2d 127, 129 (9th
Cir.1992).

In request No. 24, Defendants request communications between Plaintiffs or their counsel
and other putative class members including communications in which a putative class member
advised that “he or she either wished or did not wish to be a member of the class that [Plaintiffs]
seek to represent and/or that he or she wished or did not wish to assert claims against Defendants.”
(Ex. A). Plaintiffs Townes and Brown object to producing responsive documents primarily on
relevance and privilege grounds. (/d.) However, “letters to prospective clients to encourage their
involvement in a class action and a proposed retainer agreement, regardless of whether the sending
of them was in furtherance of the interests of an existing client, are not communications between
attorney and client and are not confidential.” Auscape Intern. v. National Geographic Society, No.

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92 CIV. 6441 (LAK), 2002 WL 31250727, at *1 (S.D.N.Y. Oct. 2, 2002). Such documents are
akin to advertising. (/d.)

In answers to interrogatories, Plaintiffs Townes and Brown state that they first formed the
belief that the citric acid in Defendants’ beverages is a preservative in December 2020 “after
learning of the facts alleged in this lawsuit from the “Top Class Actions’ website.” (See answer to
interrogatory 11, at Exs. C and D). The communications sought about joining this action are
probative of such awareness. Communications exchanged with others to join the suit, and with
those who declined, may also show whether a class of aggrieved consumers exists.

B. Plaintiff Ashour - In supplemental document request numbers | and 2, Defendants
seek documents sufficient to show when plaintiff, Ahmed Ashour (“Plaintiff Ashour”), first
received and returned the January 9, 2019 retainer agreement. (Ex. E). In deposition, Mr. Ashour
did not know when that document was received or returned. (Ex. F, T. 37:23-38:2; T.41:15-24).

The January 9, 2019 retainer agreement (previously filed under seal, ECF 145) indicates
that a draft complaint had been sent to Plaintiff Ashour before the retainer agreement was received,
Plaintiff Ashour does not recall whether he received the draft complaint prior to receiving the
retainer agreement. (Ex. F, T. 63:22-64:3). He stated that his first communication with Mr. Reese
occurred in “late 2018.” (d., T. 42:6-17). When asked for the approximate date of that
communication, he stated “sometime between late November and late December as an
approximation.” (/d., T. 43:16-22). Because Plaintiff Ashour deleted his emails and does not
know when the deletion occurred (/d., T. 38:3-15), request No. 4 seeks documents sufficient to
evidence the date emails and/or texts that included the retainer agreement were sent, received,
saved, downloaded and/or deleted. (Ex. E). Request No. 5 seeks documents sufficient to evidence

the date Plaintiff Ashour received, sent, saved and/or deleted any draft complaint to be filed against
Defendants. (/d.)

Plaintiff Ashour objects to producing documents responsive to request numbers 1, 2, 4 and
5 mainly on relevance and privilege grounds. (Ex. E). The date(s) of receipt and return of the
January 9, 2019 agreement and of any draft complaint are relevant to show a timeline as to when
Plaintiff Ashour first came to believe that he was deceived. The requests seek documents
evidencing date(s) of emails/texts, and proof of downloading and/or deletion, not any privileged
communications. For the foregoing reasons, Defendants respectfully request that Plaintiffs be

ordered to produce the requested documents by a date certain. Thank you for Your Honor’s
attention to this matter.

Respectfully submitted,

STEVENS & LEE
/s/ Robert P. Donovan

Robert P. Donovan
ce: (All counsel of record via ECF)

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